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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK; STATE OF
 CALIFORNIA; STATE OF ILLINOIS; STATE OF
 RHODE ISLAND; STATE OF NEW JERSEY;
 COMMONWEALTH OF MASSACHUSETTS;
 STATE OF ARIZONA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF             C.A. No. 1:25-cv-00039
 DELAWARE; THE DISTRICT OF COLUMBIA;
 STATE OF HAWAI’I; STATE OF MAINE; STATE
 OF MARYLAND; STATE OF MICHIGAN; STATE      REQUEST FOR EMERGENCY
 OF MINNESOTA; STATE OF NEVADA; STATE       TEMPORARY RESTRAINING
 OF NORTH CAROLINA; STATE OF NEW            ORDER UNDER FEDERAL RULE
 MEXICO; STATE OF OREGON; STATE OF          OF CIVIL PROCEDURE 65(B)
 VERMONT; STATE OF WASHINGTON; STATE
 OF WISCONSIN,

             Plaintiffs,

       v.

 DONALD TRUMP, IN HIS OFFICIAL CAPACITY
 AS PRESIDENT OF THE UNITED STATES; U.S.
 OFFICE OF MANAGEMENT AND BUDGET;
 MATTHEW J. VAETH, IN HIS OFFICIAL
 CAPACITY AS ACTING DIRECTOR OF THE
 U.S. OFFICE OF MANAGEMENT AND
 BUDGET; U.S. DEPARTMENT OF THE
 TREASURY; SCOTT BESSENT, IN HIS
 OFFICIAL CAPACITY AS SECRETARY OF THE
 TREASURY; PATRICIA COLLINS IN HER
 OFFICIAL CAPACITY AS TREASURER OF THE
 U.S.; U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; DOROTHY A. FINK, M.D.,
 IN HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF
 EDUCATION; DENISE CARTER, IN HER
 OFFICIAL CAPACITY AS ACTING SECRETARY
 OF EDUCATION; U.S. FEDERAL EMERGENCY
 MANAGEMENT AGENCY; CAMERON
 HAMILTON, IN HIS OFFICIAL CAPACITY AS
 ACTING ADMINISTRATOR OF THE U.S.
 FEDERAL EMERGENCY MANAGEMENT

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 AGENCY; U.S. DEPARTMENT OF
 TRANSPORTATION;
 JUDITH KALETA, IN HER OFFICIAL
 CAPACITY AS ACTING SECRETARY OF
 TRANSPORTATION;
 U.S. DEPARTMENT OF LABOR; VINCE
 MICONE, IN HIS OFFICIAL CAPACITY AS
 ACTING SECRETARY OF LABOR; U.S.
 DEPARTMENT OF ENERGY; INGRID KOLB, IN
 HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF THE U.S. DEPARTMENT OF
 ENERGY; U.S. ENVIRONMENTAL
 PROTECTION AGENCY; JAMES PAYNE, IN HIS
 OFFICIAL CAPACITY AS ACTING
 ADMINISTRATOR OF THE U.S.
 ENVIRONMENTAL PROTECTION AGENCY;
 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, IN HER CAPACITY
 AS SECRETARY OF THE U.S. DEPARTMENT
 OF HOMELAND SECURITY; U.S.
 DEPARTMENT OF JUSTICE; JAMES R.
 McHENRY III, IN HIS OFFICIAL CAPACITY AS
 ACTING ATTORNEY GENERAL OF THE U.S.
 DEPARTMENT OF JUSTICE; THE NATIONAL
 SCIENCE FOUNDATION and DR.
 SETHURAMAN PANCHANATHAN, IN HIS
 CAPACITY AS DIRECTOR OF THE NATIONAL
 SCIENCE FOUNDATION,

                Defendants.



                 MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiff States move for issuance of an

order temporarily restraining Defendants from enforcing the directive given to all Federal agencies

in the Office of Management and Budget’s January 27, 2025 Directive to “temporarily pause all

activities related to obligation or disbursement of all Federal financial assistance, and other

relevant agency activities that may be implicated by [certain] executive orders” pending the

Court’s review of the merits. Matthew J. Vaeth, Acting Director of the Office of Management and

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Budget, “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs”

(January 27, 2025) (“OMB Directive”), at 2.

        The OMB Directive’s directive to “pause . . . disbursement of Federal funds under all open

awards,” and to “pause” other Federal financial assistance-related activities is unlawful under the

Administrative Procedure Act (“APA”) because it is arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law, contrary to constitutional right or power, in excess of

statutory jurisdiction, authority, or limitations, and is contrary to law. See 5 U.S.C. § 706. The

OMB Directive also violates constitutional Separation of Powers principles and exceeds the

constitutional limitations on any Spending Clause power that Congress might have delegated to

the executive branch in any of the activity areas affected by the “pause.” The OMB Directive’s

“pause” mandate is causing Plaintiff States immediate and irreparable harm—in the form of

millions of dollars in obligated funds and mass regulatory chaos—every day that the policy set out

in the OMB Directive is in effect. 1 The balance of the equities also weighs overwhelmingly in

Plaintiffs’ favor. Plaintiff States thus respectfully request that this Court schedule a hearing on this

matter today, January 28, 2025, or as soon as is otherwise practicable, and that the Court restrain

the Defendants from enforcing the OMB Directive’s directive to “pause all activities related to

obligation or disbursement of all Federal financial assistance.” OMB Directive at 2.




1
  Indeed, Defendants essentially acknowledged in a separate filing that a TRO would be
appropriate if payments under particular grant programs have been delayed and that such delay
would cause harm meriting immediate relief—which this record, with declarations from dozens of
state officials indicating just that—amply demonstrates. Def.’s Notice Regarding Pls’ Mot. for
TRO, Nat’l Council of Nonprofits v. OMB, No. 25-cv-239 Dkt. 11 at 2 (D.D.C. Jan. 28, 2025).
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                                         BACKGROUND

       Last night, Plaintiff States became aware through social media reporting, later confirmed

by the Washington Post, 2 that the Acting Director of the Office of Management and Budget,

Matthew Vaeth, had sent a sweeping Directive to heads of executive departments and agencies that

will upend the regular workings of State government programs providing health care, safe roads,

disaster assistance, and other essential services. The OMB Directive has already caused mass

uncertainty and confusion for recipients of Federal funds who are not sure when or if they will

receive funding already obligated. The OMB Directive addresses “Federal financial assistance,” a

broad designation under Federal law that encompasses most Federal grants and loans—the

Directive itself claims that $3 trillion of FY 2024 Federal government spending is comprised of

Federal financial assistance. OMB Directive, at 1.

       Complicating matters further, instead of communicating through normal procedural

channels to explain changes in the complex Federal grant and loan programs each Federal

executive branch agency is charged with administering, Director Vaeth issued the OMB Directive

as a non-publicized internal memorandum dictating that all agencies “must temporarily pause all

activities related to obligation or disbursement of all Federal financial assistance . . . .” Id. at 2.

The memorandum further cryptically explains that the financial activities subject to the pause

include, but are not limited to, “financial assistance for foreign aid, nongovernmental

organizations, DEI, woke gender ideology, and the green new deal.” Id. And, while the OMB

Directive specifically mentions seven executive orders that by their own terms purport to limit




2
  Jeff Stein, Jacob Bogage, and Emily Davies, “White House pauses all federal grants, sparking
confusion,”            Washington           Post,         Jan.            27,            2025,
https://www.washingtonpost.com/business/2025/01/27/white-house-pauses-federal-grants/.
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Federal financial assistance or at least appear to begin a process at interrupting Federal financial

assistance, 3 it is unclear if these are the only policies to which the memo applies. Id. at 1-2.

        The OMB Directive sketches out a process by which each executive branch agency “must

complete a comprehensive analysis” of their programs, the purpose of which is to allow the

Administration to “review agency programs and determine the best uses of the funding for those

programs consistent with the law and the President’s priorities.” Id. at 2. But, while that happens,

the Directive asserts that “all activities related to obligation or disbursement of all Federal financial

assistance” must be paused. Id. at 2. And while the order describes the pause as temporary, there

is no set end date. Agencies must submit a detailed report by February 10, 2025, but there is no

deadline for OMB to make a determination and resume funding. Id. While waiting for that

determination to be made, “[e]ach agency must pause: (i) issuance of new awards; (ii)

disbursement of Federal funds under all open awards; and (iii) other relevant agency actions that

may be implicated by the executive orders, to the extent permissible by law . . . .” Id.

        State Plaintiffs rely on Federal financial assistance to provide basic services to their

residents. In FY 2024, Federal grants to States surpassed $1 trillion. 4

        Billions of dollars flow to State health systems, infrastructure, law enforcement, education,

and everything in between. Many States are faced with the possibility of immediate cash shortfalls



3
  The referenced executive orders are: Protecting the American People Against Invasion (Jan. 20,
2025), Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025), Putting America
First in International Environmental Agreements (Jan. 20, 2025), Unleashing American Energy
(Jan. 20, 2025), Ending Radical and Wasteful Government DEI Programs and Preferencing (Jan.
20, 2025), Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment (Jan. 24, 2025). Id.
at 1-2.
4
  Rebecca Thiess, Kate Watkins, and Justin Theal, “Record Federal Grants to States Keep Federal
Share of State Budgets High,” Pew, Sept. 10, 2024, https://www.pewtrusts.org/en/research-and-
analysis/articles/2024/09/10/record-federal-grants-to-states-keep-federal-share-of-state-budgets-
high.
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to conduct their basic everyday programs like funding for healthcare and food for children, which

are and have been conducted through cooperative federalism arrangements enacted by Congress

and in place for decades, and to address their most pressing emergency needs. See Affirmation of

Keith D. Hoffman dated January 28, 2025 (“Hoffmann Aff.”) at ¶¶3-31 (citing exhibits A-DD in

support); Compl. ¶ ¶ 77-97. This will result in immediate and devastating consequences for the

people of Plaintiff States. California is in particularly dire straits given the uncertainty imposed by

the Department of Justice Memorandum on continued disbursement of Federal Emergency

Management Agency (“FEMA”) funding that is essential to the response to wildfires. Compl. ¶80.

Many of these grants are distributed according to statutory formulas such that Congress did not

leave discretion to agencies to determine qualification to begin with.

        In short, funding making up billions of dollars in each of Plaintiff States has been cast aside

regardless of the chaos this will cause or the impact on essential functions Americans need in their

daily lives.

                                           ARGUMENT

        The legal standard for a temporary restraining order “mirrors that for a preliminary

injunction.” Schnitzer Steel Industries, Inc. v. Dingman, 639 F. Supp. 3d 222, 226 (D.R.I. 2022)

(citing Harris v. Wall, 217 F. Supp. 3d 541, 552 (D.R.I. 2016)). Under that standard, “[t]he district

court must consider ‘the movant's likelihood of success on the merits; whether and to what extent

the movant will suffer irreparable harm in the absence of preliminary injunctive relief; the balance

of relative hardships [and equities]; and the effect, if any, that either a preliminary injunction or

the absence of one will have on the public interest.’” U.S. Ghost Adventures, LLC v. Miss Lizzie’s

Coffee LLC, 121 F.4th 339, 347 (1st Cir. 2024) (quoting Ryan v. U.S. Immigration and Customs

Enforcement, 974 F.3d 9, 18 (1st Cir. 2020)); see Winter v. Nat. Res. Def. Council, Inc., 555 U.S.



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7, 20 (2008). The final two factors—the balance of equities and the public interest—“merge when

the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). “Likelihood of

success is the main bearing wall of the four-factor framework.” Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 16 (1st Cir. 1996). However, a “district court is required only to make

an estimation of likelihood of success and need not predict the eventual outcome on the merits

with absolute assurance.” Schnitzer Steel Industries, Inc., 639 F. Supp. 3d at 226 (quoting Corp.

Techs., Inc. v. Harnett, 731 F.3d 6, 10 (1st Cir. 2013)).

  I.        Plaintiff States Have Standing to Challenge the OMB Directive.

        Plaintiff States risk losing billions of dollars of funding obligated to them by the Federal

government, and for this reason, they easily meet the standard for Article III standing.

        “To ensure the proper adversarial presentation Lujan holds that a litigant must demonstrate

that it has suffered a concrete and particularized injury that is either actual or imminent, that the

injury is fairly traceable to the defendant, and that it is likely that a favorable decision will redress

that injury.” Massachusetts v. EPA, 549 U.S. 497, 517 (2007) (citing Lujan v. Defs. of Wildlife, 504

U.S. 555, 560–61 (1992)). “Monetary costs are of course an injury.” United States v. Texas, 599

U.S. 670, 676 (2023). Thus, “los[ing] out on federal funds . . . is a sufficiently concrete and

imminent injury to satisfy Article III.” Dep’t of Com. v. New York, 588 U.S. 752, 767 (2019).

        Because the OMB Directive threatens to pause large amounts of Federal funding to the

Plaintiff States on less than 24 hours’ notice, the Plaintiff States meet these requirements. The

injury could hardly be more severe: Plaintiff California faces the prospect of losing disaster relief

funds at a moment of great need, as the Los Angeles area is recovering from devastating wildfires;

Plaintiff States risk losing funding that they receive from the Federal government to provide school

lunches to children from low-income families, grants to help law enforcement combat violence



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against children, elders, and other vulnerable populations, and funds for highways and other

essential infrastructure. Compl. ¶¶ 14, 30, 82, 90. In short, each of the Plaintiff States faces

immediate, direct pocketbook losses.

        Moreover, because the OMB Directive was issued to agency heads on less than 24 hours’

notice, the Plaintiff States have had no time to prepare for this drastic move by the Federal

government. Had the proposal given several weeks’ or months’ notice, the Plaintiff States could

have consulted with their budgetary personnel to devise a plan to address any potential pause in

funding. Compl. ¶¶ 95-97. As it is, they had no notice and thus no ability to set aside funding for

the anticipated shortfall, work with their legislatures to appropriate funds, or take other similar

measures. Id.

        The OMB Directive’s Federal financial assistance “pause” mandate is also causing a

present harm to Plaintiff States’ ability to engage in budgeting and financial planning.

        As for traceability and redressability, the Defendants are the sole cause of this mayhem—

there is no other party that these injuries could be traced to. And the injunctive relief Plaintiff States

seek will prevent the Federal government from following through on its unlawful directive.

II.     Plaintiff States Are Likely to Succeed on the Merits

        Plaintiff States are likely to succeed on the merits of their claims. First, Defendants’ actions

violate the APA because they are acting ultra vires: Congress has not delegated any unilateral

authority to Defendants to indefinitely pause all Federal financial assistance under any

circumstance, irrespective of the specific Federal statutes and contractual terms governing

particular grants, and without even considering those statutory and contractual terms. The OMB

Directive’s categorical and sweeping command cannot be squared with the complex statutory

regime governing Federal grants and, specifically, the many Federal statutes requiring the

Executive to provide grant funding to recipients under particular statutory provisions and formulas.
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       Second, the OMB Directive is arbitrary and capricious in multiple respects, including that

it “entirely fail[s] to consider . . . important aspect[s] of the problem,” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983), namely the significant

harms imposed on grant recipients (including Plaintiff States) by an abrupt termination of nearly

all Federal funding. There is also a sweeping gulf between the purported basis for the OMB

Directive (President Trump’s recent executive orders directing agencies to consider terminating

programs in a handful of discrete policy areas) and what it actually does, which is to imperil

billions of dollars in Federal funding without regard to what the funding supports, the statutory

scheme authorizing it, or whether it has any connection to the recent executive orders. The OMB

Directive also does not consider any alternatives—for instance, conducting its “review” absent a

pause in Federal funds, or pausing only grants and other Federal financial assistance where it has

some power to act.

       Moreover, by purporting to terminate Federal funds on 24 hours’ notice, the OMB Directive

effectively renders illusory (1) its direction that funding be halted only “to the extent permissible

by law” and (2) its statement that “OMB may grant exceptions allowing Federal agencies to issue

new awards or take other actions on a case-by-case basis.” The OMB Directive provides no time

for Federal agencies either to make supported requests for case-by-case exceptions to the memo’s

directives or to assess adequately whether halting particular grants would or would not be

permissible under law. Even with more time, it is unclear whether it would be possible to assess

whether the law permits any funding to be halted in response the President’s Executive Orders

where the Executive Orders themselves may be contrary to law.

       Indeed, the OMB Directive does not identify any reasoned explanation for the decision to

halt all Federal funding to grant recipients, across the board and indefinitely, much less one that



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 could justify such an extreme and reckless policy. And Defendants are not even attempting to

 clearly limit the spending “pause” to only some subset of Federal financial assistance as to which

 they determine that they have lawful authority to order the pause, because the pause is mandated

 to take effect at 5:00 p.m. on the day after it was issued and actually began even sooner—this

 morning. Defendants are thus acting with full knowledge that, as to many of the funding

 disbursements it is pausing indefinitely, the Executive has no lawful authority to hold back the

 funding, because Congress has tied its hands or because the terms of the grants—which States

 reviewed and accepted—do not authorize any such pause.

         Third, implementing the OMB Directive Federal funding freeze will violate separation of

 powers principles. “The United States Constitution exclusively grants the power of the purse to

 Congress, not the President,” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th

 Cir. 2018), with the executive branch possessing only such authority in relation to Federal funding

 that Congress has chosen to give it. Congress has not given the Executive limitless power to

 “pause” all Federal financial assistance—including funds that Congress has expressly directed to

 specific recipients and purposes—while the Executive tries to figure out where it might have some

 authority to renege on its funding commitments, let alone to pause all Federal financial assistance

 indefinitely.

         Fourth, even if the Executive had some power to suspend disbursements in some areas

 affected by the OMB Directive’s instruction, it still would not have power to retroactively impose

 a new term on already agreed upon Federal financial assistance to Plaintiff States—the new term

 being that the Executive retains a right to pause already-awarded funding midstream, indefinitely,

 while it decides whether or not it still wants to fund the grant-funded activities. Plaintiff States are

 entitled to know the terms of the funding agreement before they enter into it. Plaintiff States are



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 not currently aware of grant terms that would allow an indefinite, unsubstantiated, across-the-

 board freeze of all funds—let alone the type of clear terms that would be required to put the States

 on notice, before they accepted the many Federal grants implicated by the OMB Directive, that

 these Federal funds could be frozen based solely on the Executive’s unilateral whims. And to the

 extent the OMB Directive is attaching new, retroactive conditions on Federal funding recipients’

 receipt of Federal funds—or pausing Federal funding so it can decide whether to try to impose

 such new conditions—it is plainly in violation of the limitations on any spending power it might

 have.

         Plaintiff States are thus highly likely to succeed on their claims that the OMB Directive is

 arbitrary and capricious and contrary to law, that agencies halting all disbursement of Federal funds

 pursuant to the OMB Directive are acting ultra vires, and that the executive branch—and the

 President—are violating separation of powers principles.

         A.     The OMB Directive Is Contrary to Law and Ultra Vires (Count I)

         It is black-letter law that, in the appropriations context, “the President must follow statutory

 mandates so long as there is appropriated money available.” In re Aiken Cnty., 725 F.3d 255, 259

 (D.C. Cir. 2013) (Kavanaugh, J.); accord, e.g., City & Cnty. of San Francisco, 897 F.3d at 1232

 (“[T]he President is without authority to thwart congressional will by canceling appropriations

 passed by Congress.”). 5 The Executive cannot simply “decline to follow a statutory mandate or

 prohibition simply because of policy objections.” Aiken Cnty., 725 F.3d at 259. But the OMB



 5
   The OMB Directive constitutes final agency action subject to the APA. Final agency actions
 “mark the consummation of the agency’s decisionmaking process” and are those “by which rights
 or obligations have been determined, or from which legal consequences will flow.” Bennett v.
 Spear, 520 U.S. 154, 177-78 (1997) (internal citation and quotation marks omitted). The OMB
 Directive is a final agency action because it is a final order directing all agencies to immediately
 “pause all activities related to obligation or disbursement of all Federal financial assistance.” OMB
 Directive, at 2.
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 Directive purports to do just that, instructing agencies to “pause” trillions of dollars in Federal

 funding that Congress has directed the executive branch to spend—and, in many cases, that the

 agencies have formally obligated to grant recipients under specific terms—simply because such

 funds are not, in its view, “align[ed] . . . with the will of the American people as expressed through

 Presidential priorities.” OMB Directive, at 1.

        The OMB Directive identifies no legal authority for such an action, and there is none: no

 Federal law authorizes the President to unilaterally halt all disbursements of all Federal funds to

 all funding recipients, no matter the authorizing or appropriating statute, the regulatory regime, or

 the terms and conditions of the grant itself. See Aiken Cnty., 725 F.3d at 261 n.1 (explaining that

 the executive branch and its officers, including the President, do “not have unilateral authority to

 refuse to spend” funds that have been appropriated by Congress “for a particular project or

 program”). To the contrary, when the President wants “to spend less that the full amount

 appropriated by Congress” he must comport with the specific procedural requirements set forth in

 the Impoundment Control Act, 2 U.S.C. §§ 681 et seq.; see also Aiken Cnty., 725 F.3d at 261 n.1,

 citing 2 U.S.C. § 683 (requiring budget authority proposed for rescission to be made available for

 obligation until “Congress has completed action on a rescission bill[.]”). Even a temporary

 “pause” of budget authority by the OMB requires compliance with the ICA. 2 U.S.C. § 684

 (requiring proposed deferrals to be transmitted via a “special message” to Congress).

        Indeed, Federal appropriations law is complex and nuanced, and it cannot be squared with

 the OMB Directive’s reckless sweep. Many of the most significant funding streams to the States,

 for instance, take the form of categorical or “formula” grants, which Congress has instructed the

 Executive to provide to States on the basis of enumerated statutory factors, such as population or

 the expenditure of qualifying State funds. See, e.g., City of Los Angeles v. Barr, 941 F.3d 931, 934-



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 35 (9th Cir. 2019) (describing the statutory factors determining eligibility for specific formula

 grant); City of Philadelphia v. Att’y Gen. of United States, 916 F.3d 276, 280 (3d Cir. 2019) (same).

 Congress, for instance, has instructed the Department of Education to fund elementary and

 secondary education in the States by reference to specific formulas that encompass total population

 and the population of disadvantaged children, among other factors. 20 U.S.C. § 6303; see Rebecca

 R. Skinner, Cong. Rsch. Serv., R47702, ESEA Title I-A Formulas: A Primer (2023), available at

 http://bit.ly/4ha5W52. But the funding statute does not confer authority on the Department (or

 anyone else) to indefinitely halt elementary and secondary education grants to the States simply

 because such grants are not “align[ed] . . . with the will of the American people,” OMB Directive,

 at 1, as the OMB Directive instructs it to do.

        The same is true of many other Federal funds that Congress has required the Executive to

 provide to the States (and other grantees), but which the OMB Directive purports to indefinitely

 suspend. Congress has required the Secretary of Health and Human Services to reimburse States

 for a fixed portion of their Medicaid expenditures, 42 U.S.C. § 1396b(a) (outlining that the HHS

 Secretary “shall pay to each State” amount set by statute), an amount totaling over $800 billion

 annually, U.S. Dep’t of Health & Human Servs., Centers for Medicare & Medicaid Servs., NHE

 Fact Sheet, https://bit.ly/42xCy4i (last updated Dec. 18, 2024). But Congress did not authorize the

 Acting Secretary to indefinitely suspend such payments “simply because of policy objections,”

 Aiken Cnty., 725 F.3d at 259, as the OMB Directive instructs. Likewise, Congress has established

 a statutory formula by which the Secretary of Transportation is required to distribute Federal

 highway funds to States, 23 U.S.C. § 104(c), an amount totaling approximately $60 billion

 annually, U.S. Dep’t of Transp., Fed. Highway Admin., State-by-State Federal Aid Highway

 Program Apportionments, available at https://bit.ly/3WBmpXC. But Congress did not authorize



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 the Acting Secretary to indefinitely halt the distribution of highway funds to States on the view

 that such funds do not “advanc[e] Administration priorities,” as the OMB Directive so instructs.

 At bottom, the OMB Directive appears to suggest that the Executive can unilaterally suspend the

 payment of Federal funds to the States at any time simply by choosing to do so, no matter the

 authorizing or appropriating statute, the regulatory regime, or the terms and conditions of the grant

 itself. That is not the law.

         B.      The OMB Directive Is Arbitrary and Capricious (Count II)

         Plaintiff States are also highly likely to succeed on their claim that the OMB Directive is

 arbitrary and capricious in multiple respects.

         First, the OMB Directive is arbitrary and capricious on its face because it “entirely fail[s]

 to consider . . . important aspect[s] of the problem,” State Farm, 463 U.S. at 43, principally the

 profound harms worked on the States and their residents by the abrupt halt in Federal funding and

 the significant reliance interests that States have developed in connection with the Federal funds

 to which they are entitled by law. It is a basic rule of administrative law that an agency must “pay[]

 attention to the advantages and the disadvantages of [its] decisions.” Michigan v. EPA, 576 U.S.

 743, 753 (2015). But the OMB Directive reflects no consideration of the extraordinary harm that

 its policy will impose on the States and their residents. The OMB Directive threatens Plaintiff

 States’ ability to perform these essential activities—and it does so without any evidence that it

 considered the enormous costs of its abrupt policy change. Because Defendants “should have

 considered those matters but did not,” their “failure was arbitrary and capricious in violation of the

 APA.” Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 33 (2020).

         Likewise, the OMB Directive does not reflect any consideration of the “serious reliance

 interests” that Plaintiff States and their residents have developed on the Federal funds to which

 they were legally entitled, and the consequences of withdrawing those funds with little or no notice.
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 Id. at 30 (internal quotation marks and citation omitted). Again, all Plaintiff States rely on Federal

 funds to provide essential services to their residents, ranging from primary and secondary

 education to healthcare to disaster relief. But the OMB Directive’s abrupt about-face—purporting

 to terminate access to Federal funds on 24 hours’ notice—not only deprives Plaintiff States of those

 funds and threatens their ability to provide those services, it also effectively prevents Plaintiff

 States from making effective plans for the termination or cessation of Federal funding and the

 replacement of Federally funded programs with their State equivalents. The OMB Directive does

 not even acknowledge these interests, much less explain why they might warrant (in Defendants’

 view) less importance than whatever factors motivated the policy set out in the OMB Directive.

 “Making that difficult decision was the agency’s job, but the agency failed to do it.” Id. at 32.

        The OMB Directive also does not reflect any attempt at all to consider alternative

 approaches to the policy it sets out. See California v. EPA, 72 F.4th 308, 317 (D.C. Cir. 2023)

 (noting that an agency action may be “arbitrary or capricious” where it “ignore[s] an obvious

 alternative”). The OMB Directive asserts that an across-the-board “pause” in Federal

 disbursements is needed to permit the Executive to “review agency programs and determine the

 best uses of the funding for those programs consistent with the law and the President’s priorities.”

 OMB Directive, at 2. But it does not explain why such a dramatic step—the effective rescission of

 billions of dollars in obligated funds—is necessary to permit the incoming administration to

 “review” Federal spending for compliance with Federal law and, to the extent permissible, the

 administration’s policy priorities. And the OMB Directive does not reflect any effort to consider

 the obvious alternatives to its sweeping policy—for instance, conducting its “review” absent a

 pause in Federal funds, or pausing only grants and other Federal financial assistance where it has

 some power to act. The failure to consider those alternatives, too, is arbitrary and capricious.



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        Indeed, the OMB Directive fails to articulate any plausible rationale that would support

 Defendants’ extreme decision. It is “a fundamental requirement of administrative law . . . that an

 agency set forth its reasons for decision; an agency’s failure to do so constitutes arbitrary and

 capricious agency action.” Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014)

 (internal citation and quotation marks omitted). “[C]onclusory statements will not do; an agency’s

 statement must be one of reasoning.” Id. (internal citation and quotation marks omitted); see also

 Dep’t of Com. v. New York, 588 U.S. 752, 773 (2019) (an agency must “articulate[] a satisfactory

 explanation for [its] decision” (internal citation and quotation marks omitted)). Here, the OMB

 Directive sets forth no reasoning sufficient to justify its extraordinary policy shift. It states that

 Federal funds “should be dedicated to advancing Administration priorities,” OMB Directive, at 1,

 and identifies a range of projects that it deems contrary to the policy priorities of the new

 administration, see id. (describing “Marxist equity, transgenderism and green new deal social

 engineering policies”), but it does not explain why—even presuming Defendants had authority to

 terminate Federal funding that they determined did not comply with their policy priorities—an

 immediate, across-the-board funding freeze, one untethered to Federal statute, regulation, or

 contract term, was the appropriate means for pursuing that end. Although the OMB Directive

 explains that the “temporary pause will provide the Administration time to review agency

 programs and determine the best uses of the funding for those programs consistent with the law

 and the President’s priorities,” OMB Directive, at 2, it does not explain why a “pause” on funding

 is necessary to provide Defendants with time to review Federal funding—nor, for that matter, how

 a sweeping and categorical “pause” in Federal disbursements could be “consistent with the law,”

 id., in the first place. Plaintiff States are likely to show that the OMB Directive is arbitrary and

 capricious.



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        C.      The OMB Directive is Unconstitutional (Count III and IV)

        Finally, even if the Executive had some statutory basis for the power it seeks to assert, that

 power would violate bedrock separation of powers principles, the Spending Clause, and the Tenth

 Amendment.

        The Constitution “exclusively grants the power of the purse to Congress, not the President.”

 City & Cnty. of San Francisco, 897 F.3d at 1231. By contrast, there is “no provision in the

 Constitution that authorizes the President to enact, to amend, or to repeal statutes.” Clinton v. City

 of New York, 524 U.S. 417, 438 (1998). The President can influence the legislative process in some

 smaller ways—the President “shall from time to time give to the Congress Information on the State

 of the Union, and recommend to their Consideration such Measures as he shall judge necessary

 and expedient . . . .” U.S. Const. art. II, § 3. Further, “after a bill has passed both Houses of

 Congress, but ‘before it becomes a Law,’ it must be presented to the President.” Clinton, 524 U.S.

 at 438-39 (quoting U.S. Const. art. I, § 7, cl. 2). Ultimately, however, under “the framework of our

 Constitution, the President’s power to see that the laws are faithfully executed refutes the idea that

 he is to be a lawmaker.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952). “The

 Constitution limits his functions in the lawmaking process to the recommending of laws he thinks

 wise and the vetoing of laws he thinks bad.” Id.

        Through the OMB Directive, the Executive is claiming a breathtaking power to suspend

 all Federal grant disbursements and obligations regardless of the specific statutes, regulations, and

 terms, which govern grants—especially formula grants. Congress is the branch of government that

 has the authority to modify the statutory authorization of specific streams of funding, not the

 Executive.

        To the extent the OMB Directive purports to impose new funding conditions on the States,

 it likewise also violates the Tenth Amendment and the Spending Clause. If the Federal government
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 “desires to condition the States’ receipt of federal funds, it ‘must do so unambiguously.’” South

 Dakota v. Dole, 483 U.S. 203, 207 (1987) (quoting Pennhurst State Sch. & Hosp. v. Halderman,

 451 U.S. 1, 17 (1981)). But the OMB Directive appears to announce—with less than 24 hours’

 notice—a sweeping policy freezing disbursement of all Federal funds “that may be implicated by”

 seven executive orders. OMB Directive, at 2. That policy shift fails to provide Plaintiff States with

 the “clear notice” that they are entitled to under Pennhurst. 451 U.S. at 25. And, because the

 purpose and effect of the policy is to place new conditions on funds already obligated to specific

 States for specific purposes, it violates the basic rule that the Federal government cannot

 “surprise[] [S]tates with ‘post acceptance or “retroactive” conditions.’” City of Los Angeles, 929

 F.3d at 1174-75 (quoting Pennhurst, 451 U.S. at 25); accord Nat’l Fed’n of Indep. Bus. v. Sebelius,

 567 U.S. 519, 584 (2012). The OMB Directive is thus not only contrary to statute, it also violates

 basic constitutional principles, including the separation of powers, the Spending Clause, and the

 Tenth Amendment.

 III.   Plaintiff States Will Be Irreparably Harmed Absent a Temporary Restraining
        Order.

        Plaintiff States rely on Federal funds to provide essential services for their residents every

 day—services that Congress specifically contemplated and authorized such funds to support. State

 health systems, for instance, rely on Federal funding to support hospitals, community health

 centers, and facilities for children and the elderly. Compl. 78, 86-87, 90. States rely on disaster

 funds from FEMA to rebuild homes and bridges—including, most recently, to help California’s

 residents recover from devastating fires estimated to have caused over $150 billion in economic

 losses. Id. ¶ 80. State education systems, too, rely on formula grants from Federal agencies to

 improve teaching and learning in high-poverty schools. Id. ¶¶ 84-85. Imperiling this funding even

 for a temporary period is unquestionable irreparable harm. The OMB Directive’s breadth justifies


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 equally broad temporary relief—it purports to pause enormous swathes of Federal funding, sowing

 immediate confusion and chaos that necessitates temporary relief halting its implementation.

        There has apparently been a third document circulated by OMB attempting to clarify that

 the pause is not “across-the-board,” and does not impact funding like Medicaid. Regardless of this

 attempt at clarification, the portals for processing Medicaid Disbursement were inoperable across

 numerous of Plaintiff States for hours. The system for drawing down Head Start and the Child

 Care Development Block Grant Fund were also down for some states. Plaintiff States became

 aware of this document via X (formerly Twitter). This directive does not describe how particular

 grant programs are treated, and the pausing continues as to nearly all Federal funding. This

 directive suggests that in some circumstances, a pause “could be a day,” but it does not provide an

 end date, and the process required by the OMB Directive, including analysis and reports by

 agencies demonstrates that delays is more likely to be weeks or months, with no way of

 determining the actual length of time.

 IV.    The Public Interest and the Balance of the Equities Strongly Favor Entry of a
        Temporary Restraining Order.

       When the government is a party, as it is here, “the final two factors in the temporary

 restraining order analysis—the balance of the equities and the public interest—merge.” Jones v.

 Wolf, 467 F. Supp. 3d 74, 93-94 (W.D.N.Y. 2020) (citing Planned Parenthood of N.Y.C., Inc. v.

 U.S. Dep’t of Health & Hum. Servs., 337 F. Supp. 3d 308, 343 (S.D.N.Y. 2018)). Here, both factors

 strongly favor granting Plaintiff States’ application for a temporary restraining order.

       As an initial matter, Plaintiff States have established both an overwhelming likelihood of

 prevailing on the merits of their challenge to the OMB Directive and grave, irreparable harm to

 their residents in the absence of an immediate injunction. Plaintiff States’ “extremely high

 likelihood of success on the merits is a strong indicator that a preliminary injunction would serve


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 the public interest.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016);

 see also Saget v. Trump, 375 F. Supp. 3d 280, 377 (E.D.N.Y. 2019) (“Because Plaintiffs have

 shown both a likelihood of success on the merits and irreparable harm, it is also likely the public

 interest supports preliminary relief.” (citing Issa v. Sch. Dist. of Lancaster, 847 F.3d 121, 143 (3d

 Cir. 2017)).

       Moreover, “there is a substantial public interest ‘in having governmental agencies abide by

 the Federal laws that govern their existence and operations.’” League of Women Voters, 838 F.3d

 at 12 (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). Conversely, courts

 routinely observe that “there is generally no public interest in the perpetuation of unlawful agency

 action.” Planned Parenthood of N.Y.C., 337 F. Supp. 3d at 343 (collecting cases) (internal quotation

 marks, citations, and alterations omitted). Here, as Plaintiff States have shown, the OMB Directive

 transgresses both the APA and several constitutional limitations. There is, therefore, a strong public

 interest in curtailing OMB’s unlawful conduct and requiring the executive branch to comply with

 basic constitutional, statutory, and procedural requirements, as well as the terms of the agreements

 into which they entered. Put simply, the public has a strong interest in the Federal government

 playing by the rules. See, e.g., Deferio v. City of Syracuse, 193 F. Supp. 3d 119, 131 (N.D.N.Y.

 2016) (“[I]t is decidedly against the public interest to abide the continued enforcement of an

 unconstitutional policy or law.”).

       The public also has strong reliance interests in preserving the continuity of existing Federal

 grant funding. Plaintiff States have detailed the myriad harms they and their residents will confront

 if the OMB Directive goes into effect. See Hoffman Aff. at ¶¶ 3-31. To take one example, Plaintiff

 States’ health departments receive billions of dollars in essential Federal grant funding that may

 be “paused” as soon as this evening. The absence of these funds will have immediate and



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 dangerous consequences. See, Hoffman Aff. at ¶¶ 3-31. Courts have little trouble concluding that

 the public “benefit[s] from ensuring public health and safety.” Jones, 467 F. Supp. 3d at 94; see

 also Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 61

 (D.D.C. 2020) (“There is clearly a robust public interest in safeguarding prompt access to health

 care.”).

       Likewise, Plaintiff States receive billions of dollars in Federal grants for critical public

 services that ensure access to education, promote clean air and water, protect public safety, fight

 forest fires, and support the health of infants—to name just a handful of additional examples. The

 interruptions in Federal funding that are likely to result from the OMB Directive will impair all of

 these substantial interests. See, e.g., Oklahoma v. Castro-Huerta, 597 U.S. 629, 651 (2022) (“[T]he

 State has a strong sovereign interest in ensuring public safety and criminal justice within its

 territory.”); Pac. Merch. Shipping Ass’n v. Goldstene, 639 F.3d 1154, 1180-81 (9th Cir. 2011)

 (noting that state “clearly has an especially powerful interest in controlling the harmful effects of

 air pollution”).

       On the other end of the scale, the Federal government “cannot suffer harm from an injunction

 that merely ends an unlawful practice or reads a statute as required.” R.I.L-R v. Johnson, 80 F.

 Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.

 2013)). Since the OMB Directive is unlawful, Defendants have no cognizable interest in its

 enforcement.

       The OMB Directive is a blunt effort to effectuate vague policy changes that the Executive

 does not have authority to unilaterally impose, and it does not reflect any particularly compelling

 public interest. To the extent that Defendants assert that existing Federal grants constitute a “waste

 of taxpayer dollars” attributable to “Marxist equity, transgenderism, and green new deal social



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 engineering policies,” OMB Directive, at 1, “those harms are insufficiently grave to overcome the

 much more substantial countervailing harms” to Plaintiff States, League of Women Voters, 838

 F.3d at 13. And to the extent the OMB Directive purports to “support hardworking American

 families,” OMB Directive, at 2, Plaintiff States have demonstrated that implementing the OMB

 Directive will instead irreparably harm a wide swath of Americans who benefit from programs that

 receive Federal grant funding. In short, the public interest and the equities are unambiguous. The

 OMB Directive is unlawful and there is no public interest in its enforcement. See Planned

 Parenthood of N.Y.C., 337 F. Supp. 3d at 343. A temporary restraining order will protect a vital

 source of funding for core public programs.

                                         CONCLUSION

       “[P]articularly when so much is at stake, [] ‘the Government should turn square corners in

 dealing with the people.’” Regents of the Univ. of Cal., 591 U.S. at 24 (quoting St. Regis Paper

 Co. v. United States, 368 U.S. 208, 229 (1961) (Black, J., dissenting)). Here, the executive branch

 of the Federal government has overstepped the bounds of its authority through an unlawful,

 undemocratic effort to withhold billions in Federal grant, loan, or other financial assistance

 program funds, to the great detriment of the Plaintiff States and their millions of residents. For

 these reasons, Plaintiff States respectfully request a temporary restraining order as this case

 proceeds.




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